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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.: 16-20872-CIV-JAL

     JESUS LAZARO COLLAR and all others    )
                                           )
     similarly situated under 29 U.S.C. 216(b),
                       Plaintiff,          )
             vs.                           )
                                           )
                                           )
     ABALUX, INC,
                                           )
     JUAN D CABRAL,                        )
                   Defendants.             )
     _____________________________________ )

                  PARTIALLY UNOPPOSED MOTION FOR ENLARGMENT
                        TO FILE OBJECTIONS UNDER [DE 157]

            COMES NOW Plaintiff’s Counsel and the undersigned Firm, and hereby file this

     Motion as follows:

                            MEMORANDUM OF LAW AND ARGUMENT

            Under [DE 157], the Magistrate gave Counsel and the undersigned Firm until

     7/20/18 to file objections. For the following reasons, an enlargement until 8/10/18 is

     requested.

            The undersigned is starting a new job on Monday, and will no longer be

     employed at the undersigned Firm ending tomorrow 7/13/18. The undersigned Firm has

     not yet hired a replacement for the undersigned attorney, and such presents a time burden

     coupled with other professional obligations. Upon the undersigned attorney’s departure,

     the undersigned Firm, J.H. Zidell, PA, will be filing the objections under [DE 157] on

     behalf of both the undersigned Firm and Counsel. The undersigned attorney will not be

     filing separate objections, because the undersigned Firm will object on behalf of the Firm

     and Counsel, and will otherwise be filing any relevant pleadings concerning the sanctions

     on behalf of both the Firm and Counsel.
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            Along with other professional obligations, the Firm has an Eleventh Circuit

     appellate oral argument on 7/20/18 in Hernandez v. Acosta, 17-13673-JJ/17-13057-JJ; an

     upcoming trial in the Eleventh Circuit in and for Miami-Dade County in Mitchells Lawn

     v. Mirandas Lawn, 2009-69166 commencing 7/30/18 before Judge Cynamon; and also an

     upcoming trial in the Southern District of Florida in Rodriguez v. RCH Lawn, 17-

     23012 commencing 8/6/18 before Judge Martinez.

            The request for enlargement is not for purposes of delay, and no current

     scheduling order will be impacted and this matter is on appeal. See, Sosa v. Airport

     Systems, Inc., 133 F.3d 1417, 1418 (11th Cir. 1998); Michael Grecco Photography, Inc. v.

     Everett Collection, Inc., No. 07-CIV-8171, 2008 WL 4580024, *3-4 (S.D.N.Y.

     10/14/08). Good cause is shown for an enlargement through until 8/10/18.

        WHEREFORE Counsel and the undersigned Firm request through 8/10/18 to file

     objections under [DE 157]. J.H. Zidell, P.A. will be filing the objections (and any related

     sanctions pleadings) on behalf of both Counsel and the Firm as the undersigned will no

     longer be actively working on this matter.

                               CERTIFICATE OF CONFERRAL

            In conferral, defense counsel Leslie Langbein, Esq. responded in an e-mail that

     she would not oppose a shorter extension of one week or until 7/27/18.
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                               Respectfully submitted,

                              K. DAVID KELLY, ESQ.
                                  J.H. ZIDELL, P.A.
                           ATTORNEY FOR PLAINTIFF
                              300 71ST STREET, #605
                            MIAMI BEACH, FLA. 33141
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                                 FAX: 305-865-7167
                  EMAIL: DAVID.KELLY38@ROCKETMAIL.COM
                                    F.B.N. 0123870
                   BY:_______/s/ K. David Kelly__________________
                              K. DAVID KELLY, ESQ.

                           CERTIFICATE OF SERVICE

          I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE
         FOREGOING WAS SENT SUBSEQUENT TO E-FILING ON 7/12/18 TO:

                            ALL CM/ECF RECIPIENTS

                          LESLIE W. LANGBEIN, ESQ.
                           LANGBEIN & LANGBEIN
                         ATTORNEYS FOR DEFENDANT
                             8181 NW 154 STREET
                                  SUITE 105
                         MIAMI LAKES,FLORIDA 33016

                 BY:__ /s/ K. DAVID KELLY ______________________
                               K. DAVID KELLY, ESQ.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO.: 16-20872-CIV-JAL

     JESUS LAZARO COLLAR and all others    )
                                           )
     similarly situated under 29 U.S.C. 216(b),
                       Plaintiff,          )
             vs.                           )
                                           )
                                           )
     ABALUX, INC,
                                           )
     JUAN D CABRAL,                        )
                   Defendants.             )
     _____________________________________ )

             ORDER GRANTING PARTIALLY UNOPPOSED MOTION FOR
               ENLARGMENT TO FILE OBJECTIONS UNDER [DE 157]

        This cause, having come before the Court on the above-described Motion, and the

     Court being duly advised in the premises, it is ORDERED and ADJUDGED that said

     motion is granted and therefore:

        J.H. Zidell, PA has an extension through 8/10/18 to file objections under [DE 157] on

     behalf of both the Firm and Counsel.

        DONE AND ORDERED in chambers in Miami, Florida, on this _______ day of

     _________________, 201___.

                                                  ____________________________________
                                                  JONATHAN GOODMAN
                                                  UNITED STATES MAGISTRATE JUDGE
     Copies to: Counsel of Record
